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                                 UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.                                                          Case No. 1:18-cv-00950-LO-JFA

COX COMMUNICATIONS, INC., et al.,

         Defendants.



                                DECLARATION OF JEFFREY M. GOULD

            I, Jeffrey M. Gould, hereby declare pursuant to 28 U.S.C. § 1746 that the following

     statements are true and correct to the best of my personal knowledge and belief:

            1.         I am Senior Counsel Oppenheim + Zebrak, LLP, and am admitted to practice law

     in the District of Columbia, among other jurisdictions. I am counsel for Plaintiffs in the above-

     captioned case.

            2.         I submit this declaration in support of Plaintiffs’ Opposition to Cox’s Motion For

     Discovery Sanctions And To Preclude Plaintiffs’ Use Of MarkMonitor Evidence.                  I have

     knowledge of the facts stated herein based on personal knowledge or information learned in the

     course of my involvement in this case. If called upon to do so, I am able to testify competently to

     the matters as stated herein.

            3.         On December 12, 2018, Plaintiffs served their initial disclosures in accordance with

     Rule 26(a)(1). Plaintiffs’ disclosures included all information required by Rule 26(a)(1). Plaintiffs

     and third parties produced documents identifying Audible Magic as early as February 2019. Cox

     then served a subpoena on Audible Magic in April, received document productions from Audible

     Magic on April 26 and May 1, 2019, and deposed its Rule 30(b)(6) designee on May 6, 2019.
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         4.      On February 26, 2019, Plaintiffs produced to Cox a hard drive with copies of the

  infringing audio files that Cox subscribers downloaded and distributed.         These files were



         5.      MarkMonitor entered into a Statement of Work (“SOW”) with RIAA in 2012

  concerning a                            The contract defined the

  services MarkMonitor was to provide, and expressly provided that




              A true and correct copy of the 2012 SOW is attached to the Leiden Declaration in

  support of Cox’s Motion as Exhibit T.

         6.      Cox’s contention that MarkMonitor and/or Plaintiffs somehow obstructed Cox’s

  ability to take discovery from MarkMonitor is contradicted by the record. Cox served document

  and deposition subpoenas on MarkMonitor. When Cox demanded to inspect MarkMonitor’s

  proprietary/trade secret source code, MarkMonitor objected. When the U.S. District for the

  Northern District of California overruled MarkMonitor’s objection, MarkMonitor made its source

  code available to Cox’s expert for inspection.

         7.      When Cox served a facially invalid deposition subpoena on MarkMonitor,

  MarkMonitor moved to quash it. The U.S. District for the Northern District of California sustained

  the objection and quashed Cox’s deposition subpoena on multiple grounds. Cox then served an

  amended subpoena and tried to insist that MarkMonitor education a U.S.-based employee on

  certain highly technical issues as a Rule 30(b)(6) designee. Cox then agreed to take the deposition

  of MarkMonitor’s Lithuanian witness by video and then refused to honor that agreement, forcing

  yet another dispute before the California court. The court rejected Cox’s request to order that the




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  deposition occur in person, in Lithuania, on the last day of discovery, when three other depositions

  were already scheduled that day, and Cox had previously agreed to take that deposition by video.

  What Cox paints as MarkMonitor’s obstruction, in fact, reflects Cox’s overly aggressive approach

  to discovery third-party discovery. The Northern District of California court agreed and, after

  describing a specific email from a Winston & Strawn partner as “needlessly hostile,” admonished

  the parties’ counsel to “practice civilly.” A true and correct copy of the Northern District of

  California’s April 25, 2019 Order is attached hereto as Exhibit 1.

         8.      Exhibit 2 is a true and correct copy of Stroz Friedberg’s October 14, 2012 report

  assessing MarkMonitor’ methodologies for monitoring, verifying, and enforcing online copyright

  infringement on P2P file sharing networks.

         9.      Exhibit 3 is a true and correct copy of relevant excerpts from the May 6, 2019

  deposition transcript of Vance Ikezoye, Audible Magic’s 30(b)(6) corporate designee. The

  Audible Magic Spreadsheet (REV00003444) was not identified during any questions or answers

  during Mr. Ikezoye’s deposition, and it was not entered as an exhibit. Cox did not authenticate the

  Audible Magic Spreadsheet during that deposition.

         10.     Exhibit 4 is a true and correct copy of the August 30, 2019 Declaration of Barbara

  Frederiksen-Cross, Plaintiffs’ technical expert (ECF No. 235-7).

         11.     Exhibit 5 is a true and correct copy of relevant excerpts from the May 23, 2019

  deposition transcript of Alasdair McMullan, Senior Vice President of Business & Legal Affairs at

  UMG Recordings, Inc.

         12.     Exhibit 6 is a true and correct copy of relevant excerpts from the May 29, 2019

  deposition transcript of Dr. Nick Feamster, Cox’s technical expert.




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